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                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                    NORTHEASTERN DIVISION

TOMMY LINDSEY, et al.,                 )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )      CIVIL ACTION NUMBER
                                       )         5:15-cv-01750-AKK
3M COMPANY, et al.,                    )
                                       )
      Defendants.                      )

    PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION
FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

Timothy C. Davis (ASB-6384-D63T)            Kevin S. Hannon, pro hac vice
W. Lewis Garrison, Jr. (ASB-3791-N74W)      THE HANNON LAW FIRM, LLC
Christopher B. Hood (ASB-2280-S35H)         1641 Downing Street
Mark R. Ekonen (ASB-0204-R79E)              Denver, CO 80218
HENINGER GARRISON DAVIS, LLC                PH: 303-861-8800
2224 First Avenue North                     khannon@hannonlaw.com
Birmingham, AL 35203
PH: 205-326-3336
tim@hgdlawfirm.com
lewis@hgdlawfirm.com
chood@hgdlawfirm.com
mark@hgdlawfirm.com

Counsel for Plaintiffs and Proposed Class
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I.    INTRODUCTION


      Plaintiffs are customers of the West Morgan-East Lawrence Water and Sewer

Authority (“WMEL” or “Authority”), and they seek to represent two subclasses of

similarly situated absent plaintiffs: those who purchased water originating from

WMEL and those who owned or resided in a household that received water

originating from WMEL. Plaintiffs filed this lawsuit seeking compensation from

the Defendants for the pollution of their drinking water source, the Tennessee River,

by Defendants’ discharges of certain per- and polyfluoroalkyl substances (“PFAS”),

including perfluorooctanoic acid (“PFOA”) and perfluorooctanesulfonate (“PFOS”).

      Plaintiffs have reached a proposed settlement with the defendants in this

litigation—3M Company (“3M”), Dyneon, LLC (“Dyneon”), and Daikin America,

Inc. (“DAI”), (collectively, the “Defendants”)—that is fair, adequate, and

reasonable. Accordingly, Plaintiffs seek preliminary approval of this proposed class

settlement from the Court. The settlement requires the Defendants to pay the class

$12,000,000.00 as restitution for certain monies paid for contaminated water as well

as for all other claims released in the proposed Settlement Agreement (“Settlement”)

attached to this motion as Exhibit 1. Additionally, 3M will pay for half of the costs

to (1) notify the class members of the Settlement and (2) to administer the

Settlement. This relief is on top of the relief previously obtained from Defendants

in this litigation, which WMEL utilized to install a granular activated carbon (GAC)



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filtration system that became effective on September 29, 2016 and has been

operating since that date to remove PFAS to a level below applicable federal and

Alabama regulatory advisories. WMEL also will utilize relief obtained in this

litigation to replace the GAC filtration system with a reverse osmosis (RO) system.

Once installed, the RO system will continue the GAC system performance, and

improve upon it. The RO system came online in May of this year (2021), see Exhibit

2, attached hereto, and it is the most advanced water filtration available to WMEL.

It has been tested against 29 different PFAS compounds and removes all of them.

As installed at WMEL, the RO system is expected to have a fifty-year lifespan.

      In exchange for the described payments from Defendants, the members of the

Class will resolve their claims against the Defendants as set forth in the Consolidated

Individual and Class Action Complaint (Doc. 175), and will release the Defendants

for certain individual and class claims in accordance with the terms of the Settlement

Agreement. The Settlement will preserve the rights of the members of the Class to

assert claims against the Defendants for manifest bodily injuries or illnesses and any

mental anguish resulting from such manifest injuries or illnesses, as well as for

property damage claims arising out of or related to the application of PFAS-

containing biosolids on property owned by a Class Member.

      Plaintiffs have moved for conditional certification of the Class and

preliminary approval of the proposed Settlement as the first step in the settlement

approval process. If, after reviewing the Settlement under the standards of Rule


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23(e) of the Federal Rules of Civil Procedure, the Court preliminarily approves the

Settlement, Class Counsel will provide notice of the terms of the Settlement to the

Class Members in a form that the Court approves. After it allows reasonable time

for notice, the Court would hold a fairness hearing to consider the terms of the

Settlement in detail and any objections or other comments that Members of the Class

may submit to the Court. Accordingly, Plaintiffs ask the Court to: (1) conditionally

certify the Class for settlement purposes; (2) preliminarily approve the Settlement

under Rule 23(e); (3) approve the proposed Notice Plan and form of the Class

Notice; (4) set a timeline for notice, Settlement objections, and other events; and (5)

schedule a fairness hearing to finally approve the Settlement.

II.   SUMMARY OF THE SETTLEMENT

      The Settlement creates a common fund of 12 million dollars to compensate

ratepayers, household members, and household owners for potable water containing

PFAS distributed to their households by five water utilities over a three-year period.

The ratepayers, or “Ratepayer Subclass,” will receive 6.415 million dollars on a pro

rata basis (adjusted by a minimum and cap) for their payments for that water, and

the other class members will receive a pro rata share of 1 million dollars, based on

the number of claims made and subject to a cap.

      There are 17,112 residential water customer accounts for which ratepayer

claims would be paid. See Exhibit 3 at Table 1. The other class members, the

“Resident Subclass,” are estimated to number approximately 26,000 based on


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household census data from Morgan County and Lawrence County, the two counties

primarily served by the five water utilities.

       Class Counsel, if approved, would seek a fee of thirty percent of the common

fund (3.6 million dollars). Expenses which may be reimbursable to Class Counsel

are no more than $900,000. Costs of notice and administration are estimated at

$170,000, and any surplus would be distributed on a pro rata basis to the estimated

77 percent of ratepayers whose payments from the Settlement are not capped and

are not minimum payments.         An effective notice plan would be commenced

promptly after preliminary approval. Exhibit 4. The form of notice is Exhibit 5.

       A schedule for Class Counsel’s motion for an award of fees and costs, notice,

Resident Class claims, opt outs and objections, hearings, and all related events are

proposed at the end of this Motion.

III.   FACTUAL BACKGROUND

       3M began producing products containing or using PFOS and PFOA in the

1950s.1 3M produced or used PFOS in its manufacturing processes in Decatur for a

number of years before it phased out of the chemistry in 2002.2 3M produced or




1     See November 30, 2007 Report on the Manufacture, Use, and Releases of
PFCs at the 3M Cottage Grove Facility (3M_MN00066600, at -6604) (Doc. 202-
29).
2     See, e.g., January 30, 2009 Letter to the EPA (3M_MN01362000, -2002)
(Doc. 202-31) (noting that the chemical plant manufactured materials using the
PFOS chemistry for use as protective treatment for carpets, papers and textiles).

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used PFOA in its manufacturing processes in Decatur from 1998-2000.3 PFAS and

related chemicals were discharged from 3M’s property into Bakers Creek, a tributary

to the Tennessee River.4 3M also applied PFAS-containing sludge from its on-site

wastewater treatment plant by means of subsurface injection in a 575-acre area

designated as the “sludge incorporation area.”5

      Dyneon was formed in 1997 upon the merger of 3M’s fluoroelastomer

business with the German company, Hoescht.6 In 1999, 3M purchased Dyneon from

Hoescht.7 In 1998, Dyneon built its own facility on the southern portion of the 3M

Decatur site for production of fluoroelastomers.8 Full-scale production of PFOA

began at 3M Decatur in 1999.9 PFAS from Dyneon’s operations also contributed to

the PFAS discharge into Bakers Creek and the Tennessee River.10

      In 1991, 3M sold a portion of the 3M sludge incorporation area to DAI as the

site for construction of a new DAI fluorochemical plant. Initial construction of the




3     See id. (noting that the chemical plant also produced ammonium
perfluorooctanoate, which is the ammonium salt of PFOA).
4     See Doc. 202-30, at -6639-45.
5     Id., at -6641.
6
      See 3M Decatur Plant, https://www.3m.com/3M/en_US/plant-locations-
us/decatur/, last accessed November 22, 2019.
7     See id.
8     See 3M Decatur Plant, https://www.3m.com/3M/en_US/plant-locations-
us/decatur/, last accessed November 22, 2019.
9
      Declaration of Larry Neal, Doc. 92-8 at ¶11.
10    See January 30, 1999 Letter from 3M to EPA (3M_MN01105042, at -5042)
(noting that 3M and Dyneon “share many operations, including on-site treatment
and direct discharge of process wastewater”) (Doc. 202-35).

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DAI plant was completed in 1993, with fluoropolymer manufacturing operations

beginning in early 1994. From 1994 to 2011, DAI purchased PFOA for use in the

manufacture of certain fluoropolymers.11 Stormwater runoff from DAI’s property

has contained comparatively low volumes of PFOA and PFOS.12 DAI never made,

used, or sold PFOS.

      Based, in part, on the presence of PFAS in the Tennessee River caused by

Defendants’ discharges, ADEM has placed Wheeler Reservoir from 5 miles

upstream of Elk River to the Joe Wheeler Dam on the state’s list of impaired

waters.13 This includes the location where WMEL takes water from the Tennessee

River to treat and provide to its customers, including the adjacent water utilities

which distribute WMEL water to their customers.14

      The Tennessee River is the sole source of raw water for WMEL. 15 WMEL’s

intake is located on the Tennessee River downstream from each of the Defendants’

Decatur facilities.16 The water that reaches the intake on the Tennessee River

contains trace amounts of PFAS.17 There is a single intake from the Tennessee River


11     Declaration of Larry Neal, Doc. 92-8 at ¶12.
12
       Declaration of Ralph Werling, Doc. 92-9 at ¶7.
13     See 2014 Alabama § 303(d) List (relying on data from 2008-2012); 2016
Alabama § 303(d) List; 2018 Alabama § 303(d) List.                        ADEM,
http://www.adem.state.al.us/programs/water/303d.cnt (last accessed November 21,
2019).
14
       See id.
15     Pate Affidavit at ¶ 3 (Doc. 202-36).
16     See id. at ¶¶ 5, 7.
17     See, e.g., January 2008 Report at -6699, -6711, -6757, -6767, -6774, -6868-

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at the Hames WTP for the entire WMEL distribution system.18 WMEL’s intake

takes in Tennessee River water containing PFAS and distributes it through a single

water treatment system to all customers and properties. Water taken in from the

Tennessee River and distributed to customers was tested for PFAS and found to

contain PFOA, PFOS, and other PFAS compounds.19 Before WMEL installed a

GAC filtration system in September of 2016,20 the PFAS content of the Tennessee

River at the WMEL intake was delivered to WMEL customers and adjacent

utilities.21 After the GAC filtration system was installed, longer chain PFAS, such

as PFOA and PFOS, were substantially filtered before distribution to all customers

(both direct and indirect) and properties, but some shorter chained PFAS, including

PFBS and PFBA, were not completely removed at all times.22

IV.   PROCEDURAL HISTORY


      On October 5, 2015, Plaintiffs filed an Individual and Class Action Complaint

(“Complaint”) against 3M, Dyneon, and DAI. See Doc. 1.23 Plaintiffs alleged that




69 (noting that customers of WMEL had “the highest municipal contact doses”)
(Doc. 202-30).
18     Pate Affidavit at ¶ 4 (Doc. 202-36).
19     Id. at ¶ 5.
20     WMEL imposed a usage surcharge on customers of one dime per 1,000 (one
thousand) gallons to help defray the expense of replacing the GAC contactors. Id.
at ¶ 12.
21     Id. at ¶¶ 7, 11.
22     Id. at ¶ 8.
23     WMEL was also a Plaintiff in this initial lawsuit.

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the drinking water supply of the Authority contains toxic chemicals, including PFOA

and PFOS, as a result of the discharges of these chemicals from Defendants’

manufacturing plants in Decatur, Alabama. For their class claims, the Plaintiffs

requested injunctive relief and also sought compensatory damages. Prior to and after

filing their original Complaint, Plaintiffs spent considerable time and resources

evaluating the facts and law involved in this case. Extensive discovery has been

conducted in this case. Plaintiffs have reviewed millions of pages of documents

produced by the Defendants. Depositions of representatives of all parties have been

taken. Expert reports have been filed by both sides. And many expert depositions

have been taken.

      On November 17, 2016, Plaintiffs sought approval of a pro tanto settlement

of the class claims against DAI. See Doc. 73. Under the terms of the proposed

settlement agreement, DAI agreed to fund the installation of a GAC system at

WMEL and pay $450,000.00 in monetary compensation to the members of the

proposed class.    See Doc. 74 at 10-12.       On February 24, 2017, this Court

conditionally certified a class and preliminarily approved of the terms of the pro

tanto settlement with DAI. See Doc. 79. After holding a fairness hearing and

overruling objections, this Court entered an Order granting final approval of the pro

tanto settlement on May 10, 2017. See Doc. 98. Shortly thereafter, the objectors

filed a notice that they were appealing this Court’s certification and final approval

to the Eleventh Circuit. See Doc. 101. Over a year later, the Eleventh Circuit issued


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an order vacating the certification of the class and reversing approval of the

settlement. See Doc. 133. In response to the issues noted by the Eleventh Circuit,

current counsel filed their notice of appearance on behalf of the individual Plaintiffs

(Tommy Lindsey, Lanette Lindsey, and Larry Watkins) on July 17, 2018. See Doc.

138.

       After subsequently reaching an agreement to settle its claims individually as

to DAI, WMEL filed a joint motion to dismiss its claims against DAI on July 17,

2018. See Doc. 137. This Court granted WMEL’s motion on November 21, 2018.

See Doc. 164. Later, after reaching an agreement to settle its claims against the

remaining Defendants, WMEL filed a joint stipulation of dismissal, dismissing its

claims against 3M and Dyneon on May 10, 2019. See Doc. 177. This Court entered

an order dismissing WMEL’s claims against 3M and Dyneon. See Doc. 180. At

this point, WMEL’s claims against all Defendants have been settled and dismissed.

       On May 6, 2019, Plaintiffs filed an amended complaint, styled their

Consolidated Individual and Class Action Complaint (“Consolidated Complaint”),

against the Defendants.     See Doc. 175.      While DAI filed an answer to the

Consolidated Complaint (Doc. 183), 3M and Dyneon filed both an answer as to part

of Plaintiffs’ Consolidated Complaint (Doc. 182) and a motion to dismiss other parts

of Plaintiffs’ Consolidated Complaint on June 3, 2019 (Doc. 184). This Court

subsequently granted 3M and Dyneon’s motion to dismiss as to Plaintiffs’ trespass

claim and remedy claims for diagnostic testing. Doc. 224.


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      On December 3, 2019, Plaintiffs filed a motion to certify a class (Doc. 202),

which the Defendants opposed. See Docs. 205, 206. 3M and Dyneon filed a motion

for summary judgment (Doc. 225) which Plaintiffs opposed (Docs. 230). DAI also

filed a motion for summary judgment (Doc. 241), but the Parties reached a settlement

on Plaintiffs’ claims prior to Plaintiffs filing a response.

V.    THE PROPOSED RELIEF


      The proposed Settlement provides substantial benefits to the Class. The

Defendants have collectively agreed to make settlement payments of $12,000,000

(Twelve Million Dollars) to the Class. Defendant 3M, in addition, has agreed to pay

a specified percentage of the reasonable costs of settlement notice and

administration. These payments will compensate those members of the Class who

either paid for water contaminated with PFAS during the class period or who owned

or resided for at least six months at a home which received water contaminated with

PFAS during the class period.

      There are two Subclasses: one for residential ratepayers, i.e., those who paid

for the water, and the other for household members and owners who were not

residential ratepayers.

      A.     Residential ratepayers are proposed to be compensated this way:

payments will be made to the named ratepayer for each residential service account




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in the Ratepayer Subclass.24 The amount awarded to each account has been

calculated as a pro-rated share of the net fund for the Ratepayer Subclass, which is

$6,415,000 (six million, four-hundred and fifteen thousand dollars). The dollar

value of payment for each account was calculated as a percent of total payments

made for all accounts. This percent then was multiplied by the net fund for the

Ratepayer Subclass to determine each account’s share of the $6,415,000, adjusted

by a cap of $745.00 and by a minimum payment of $50.00. See Exhibit 3. The

resulting distribution is exhibit 2 of Exhibit 3. This distribution shows the payment

for each account. Displayed are the ratepayer’s residential water service account

number, related name and billing address for the account, and the payment to be

made for the account. Id. (subject to redaction for public filing).

      A small number of ratepayers have a pro rata share of less than $50.00 (fifty

dollars), because their accounts were short-lived or otherwise did not result in much

charges. In those instances, the share is increased to $50.00, which is the minimum

award to any member of the Ratepayer Subclass. The number of accounts due this

minimum is 1,774, which is about ten percent of all accounts. See Exhibit 3 at ¶ 5

& nn.2-3.    The number of accounts capped at $745.00 is 2,221, which is about



24     When two persons are named as ratepayer on the same account (husband and
wife for instance), the payment will be made to the persons together as one ratepayer
(absent extraordinary circumstances). Likewise, a timely opt-out by one person on
a two-ratepayer account will operate as an opt out for the Ratepayer Subclass claim
for that account.

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thirteen percent of all accounts. See id.

      B.     Resident Subclass Members are proposed to be paid a pro rata share of

a total award of $1,000,000 (one million dollars), based on claims made. This pro

rata payment is expected to be between $50.00 to $100.00 and is capped at $100.00.

If that cap takes effect, i.e., if too few claims are made and approved for payment to

produce a pro rata payment less than $100.00, the excess (or “surplus”) will be

distributed on a pro rata basis to the estimated 77 percent of ratepayers whose

payments from the Settlement are not capped and are not minimum payments. That

also is true of any excess remaining from the reserve for the Class’s one-half share

of costs for notice and settlement administration. That reserve is $85,000. The

reserve is one half of an estimated reasonable cost for notice and administration of

$170,000. 3M has agreed to pay the other half of the actual and reasonable notice

and administration cost.

VI.   PRELIMINARY APPROVAL OF THE SETTLEMENT IS

      WARRANTED.


      A.     Standards for Preliminary Approval of a Class Settlement.

      When exercising its discretion, pursuant to Rule 23(e), to approve a class

settlement, a court should consider the public and judicial policies that strongly favor

the settlement of class action lawsuits. See In re U.S. Oil and Gas Litig., 967 F.3d

489, 493 (11th Cir. 1992); accord Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir.



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1977). “[I]t has been repeatedly recognized that settlements are ‘highly favored in

the law and will be upheld whenever possible because they are means of amicably

resolving doubts and preventing lawsuits.’” Bennet v. Behring Corp., 96 F.R.D. 343,

348 (S.D. Fla. 1982), aff’d, 737 F.2d 982 (11th Cir. 1984) (quoting Miller v. Republic

Nat. Life Ins. Co., 559 F.2d 426, 428 (5th Cir. 1977)). Settlements in class action

cases are also favored because they “conserve judicial resources by avoiding the

expense of a complicated and protracted litigation process . . . .” In re Motorsports

Merch. Antitrust Litig., 112 F. Supp. 2d 1329, 1333 (N.D. Ga. 2000).

      The Eleventh Circuit has instructed that, in examining the fairness, adequacy,

and reasonableness of a settlement, a district court should examine several factors,

including: “(1) the likelihood of success at trial; (2) the range of possible recovery;

(3) the point on or below the range of possible recovery at which a settlement is fair,

adequate and reasonable; (4) the complexity, expense and duration of litigation; (5)

the substance and amount of opposition to the settlement; and (6) the stage of

proceedings at which the settlement was achieved.” In re CP Ships Ltd. Securities

Litig., 578 F.3d 1306, 1317-18 (11th Cir. 2009) (quoting Bennett v. Behring Corp.,

737 F.2d 982, 986 (11th Cir. 1984)). “Thus, the issues that bear upon whether or

not to grant preliminary and final approval here are: a) whether the settlement was

procured by collusion among the parties or was the result of arms-length and

informed bargaining; and b) whether the proposed settlement is fair, adequate and

reasonable, applying the six Bennett factors.” Lipuma v. American Express Co., 406


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F. Supp. 2d 1298, 1315 (S.D. Fla. 2005). The Plaintiffs will address each of these

issues in turn.25

       B.     Application of the Six Bennett Factors.

              1.    The likelihood of success at trial.

       “The likelihood of success on the merits is weighed against the amount and

form of relief contained in the settlement.” Lipuma, 406 F. Supp. 2d at 1319. In

evaluating this factor, the court should not reach any ultimate conclusions with

respect to issues of fact or law involved in the case. “The very uncertainty of

outcome in litigation, as well as the avoidance of wasteful litigation and expense,

lay behind the Congressional infusion of a power to compromise . . . . [Settlements]

could hardly be achieved if the test on hearing for approval means establishing

success or failure to a certainty.” Knight v. Alabama, 469 F. Supp. 2d 1016, 1033

(N.D. Ala. 2006) (quoting In re Corrugated Container Antitrust Litig., 643 F.2d 195,

212 (5th Cir. 1981)).

       Risks are inherent in all litigation, particularly a high stakes lawsuit like this



25
   The Bennett factors are functionally identical to the newly enacted Fed.R.Civ.P.
23(e) factors: “(A) the class representatives and class counsel have adequately
represented the class; (B) the proposal was negotiated at arm’s length; (C) the relief
provided for the class is adequate, taking into account: (i) the costs, risks, and delay
of trial and appeal; (ii) the effectiveness of any proposed method of distributing relief
to the class, including the method of processing class-member claims; (iii) the terms
of any proposed award of attorney’s fees, including timing of payment; and (iv) any
agreement required to be identified under Rule 23(e)(3); and (D) the proposal treats
class members equitably relative to each other.”

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one. The Court has weighed in on the sufficiency of Plaintiffs’ allegations in their

Consolidated Complaint, and has allowed some claims to proceed and dismissed

others. However, at this stage of the litigation, the Court has not considered any

evidence or expert testimony. The Defendants in both their Answers and their

motions for summary judgment, have raised several substantial defenses concerning

the merits of Plaintiffs’ claims which, absent a settlement, could resolve Plaintiffs’

claims either before or during trial. There is a risk the Court could render judgment

for the Defendants on these substantive issues. There also is the risk the Court could

refuse to certify a contested class or certify a narrower class if contested. Defendants

are not opposing this motion for settlement purposes only. Defendants would

oppose a motion to certify a contested/litigated class, as Defendants already have in

this case. Moreover, there are additional requirements that must be met to certify a

contested class that do not apply to a settlement class, and some of the requirements

in Rule 23 apply differently if the class is contested. For example, for purposes

solely of this Settlement, the Defendants do not argue that individualized inquiries

prevent the Court from finding the predominance required to certify the class. They

could make such an argument if the class was contested and litigated (and indeed

have done so apart from this Settlement).

      Moreover, evaluating dispositive motions and trying this case would not only

involve uncertain outcomes at each one of those steps, but would also require a

lengthy time commitment from the Court and the Plaintiffs. And, to say the least, a


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hearing or trial would not only be lengthy, but logistically complicated and

tremendously expensive for the Plaintiffs. For these reasons, the risks faced by the

Plaintiffs weigh in favor of accepting the proposed settlement.

             2.    The range of possible recovery and the point on or below the
                   range of possible recovery at which a settlement is fair,
                   adequate and reasonable.

      District courts often consider the next two factors together as they are related.

See, e.g., Knight, 469 F. Supp. 2d at 1033; Lipuma, 406 F. Supp. 2d at 1322; Behrens

v. Wometco Enterprises, Inc., 118 F.R.D. 534, 541 (S.D. Fla. 1988). Analysis of

these two factors requires the court to compare the settlement terms “with the likely

rewards the class would have received following a successful trial of the case.”

Knight, 469 F. Supp. 2d at 1034. “When making this comparison, the Court should

keep in mind that ‘compromise is the essence of a settlement and should not make a

proponent of a proposed settlement justify each term of a settlement against a

hypothetical or speculative measure of what concessions might have been gained;

inherent in compromise is a yielding of absolutes and an abandoning of highest

hopes.” Id. Here, as in many class actions, not only is monetary relief difficult to

quantify, but the range of possible recovery “spans from a finding of non-liability

through varying levels of injunctive relief.” Assoc. for Disabled Americans, Inc. v.

Amoco Oil Co., 211 F.R.D. 457, 468 (S.D. Fla. 2002).

      There is no doubt that the Settlement provides real, valuable, and immediate

benefits to the Members of the Class that are an adequate, fair, and reasonable


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compromise of their claims against the Defendants. Although a victory at trial might

result in some additional or alternative relief against the Defendants for the members

of the Class, the proposed Settlement provides guaranteed benefits much sooner.

The Settlement is fair to the members of the Class, even though it does not provide

all of the benefits that the Class Representatives initially sought. “Any settlement

typically offers far less than a full recovery. Indeed, settlements, by their nature, do

not yield one hundred percent recovery for plaintiffs.” Fought v. Am. Home Shield

Corp., No. 2:07-cv-1928-RDP, 2010 WL 10959223, *14 (N.D. Ala. Apr. 27, 2010),

aff’d, 668 F.3d 1233 (11th Cir. 2011). This is especially true in light of the prior

settlements with WMEL in this same lawsuit (mentioned above) resulting in the

installation of additional treatment technologies at WMEL, as well as the Court’s

dismissal of Plaintiffs’ trespass claim and remedy claims for diagnostic testing,

which reduced the amount of potential damages recoverable in this suit.

Additionally, the timing of the Class benefits in the proposed Settlement weighs

heavily in its favor. Concrete and imminent financial relief is far preferable for the

Class Members than either (1) some unknown amount of financial relief years later

after the case has been tried and appeals have been exhausted, or (2) no financial

relief in the event the outcome favors the Defendants. A settlement now is also

preferable for the Class because the current COVID-19 pandemic has introduced

numerous delays into courts throughout the country, and it is uncertain when this

case would actually be able to go to trial.


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      Ratepayer Subclass Members paid a total of $14,865,497 for WMEL water

during the Class period, which amount is the uppermost dollar value of their claims

for the water they paid for. See Exhibit 3. The net settlement fund for ratepayers

($6.415 million) is 43 percent of that amount. The net fund is very fair compensation

for the water paid for given that residential water customers ingest on average only

nineteen    percent    of    water     received      at   their   homes.         See

https://www.epa.gov/watersense/data-and-information-used-watersense (pie chart

of “faucet” and other uses) (accessed July 28, 2021). Another 20 percent is used for

bathing, see id., which means the net fund for Ratepayer Subclass Members is more

than 100 percent of average ratepayer expenditures for water for drinking, cooking,

and bathing (43 percent vs 39 percent on average).

      Resident Subclass Members likewise will receive a fair payment. Depending

on the number of claims made, and due to the cap, the payment is not expected to be

less than $50 and will not be more than $100. The compensation is for (a) the

nuisance and offensiveness of PFAS in the potable water where they lived or at the

household properties they owned, and (b) any diminution of property value to the

extent a class members possessed an ownership interest in the household property.

Although this range of compensation is small, the evidence and exclusions in the

Settlement Agreement warrant it.

      There is no release of any physical injury caused by contaminants in the water

or of mental anguish resulting from such physical injury – true in all respects for


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Ratepayer Subclass Members, too. See Exhibit 1 at ¶ 12. Contamination of and

damage to household properties by other means, specifically dumping of biosolids

containing PFAS, are outside of the Settlement and are excluded from the claims

released by Class Members. See id.        The compensation is adequate given these

important exclusions.

      The compensation is consistent with the evidence. The named Plaintiffs, after

pleading a trespass claim against the Defendants, were unable to allege and prove

substantial damage to their residential properties. That is because testing of the

properties detected only extremely low levels of PFAS, if detected at all. Based on

additional investigation, the Plaintiffs believe that is true for other residential

properties served by the five utilities in the Class Period, provided the test is for

PFAS deposited on the properties by WMEL water distributed to homes.

      There are two additional reasons why a relatively small compromise payment

for property diminution is fair. Resident Subclass members with an ownership

interest in properties served by WMEL water benefitted from the GAC system

installed in 2016 as a result of this litigation, and all households which have received

WMEL water since May of this year have the cleanest water possible due to the RO

system, which will continue for 50 years. That also is a result of this litigation.

These events helped to protect properties.

             3.     The complexity, expense, and duration of the litigation.

      This inquiry overlaps in some respects with the first Bennett factor—


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likelihood of success on the merits. In assessing this factor, “[t]he Court should

consider the vagaries of litigation and compare the significance of immediate

recovery by way of the compromise to the mere possibility of relief in the future

after protracted and expensive litigation. In this respect, ‘[i]t has been held proper

to take the bird in the hand instead of a prospective flock in the bush.’” Lipuma, 406

F. Supp. 2d at 1323 (quoting In re Shell Oil Refinery, 155 F.R.D. 522, 560 (E.D. La.

1993)). “Complex litigation . . . can occupy a court’s docket for years on end,

depleting the resources of the parties and the taxpayers while rendering meaningful

relief increasingly elusive.” In re Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir.

1992). See also Lipuma, 406 F. Supp. 2d at 1323-34; Woodward v. NOR-AM

Chemical Co., No. Civ. 94-078019, 96 WL 1063670, *21 (S.D. Ala. May 23, 1996).

      Again, the need for the immediate relief in the form of financial recompense

as compared to the potential of perhaps years of litigation and appeals to possibly

achieve the same solution—or worse—weighs in favor of preliminary approval of

the Settlement.

             4.    The substance and amount of opposition to the Settlement.

      This factor does not apply at the preliminary approval stage. It becomes

relevant after the class members receive notice of the Settlement and have an

opportunity to object.

             5.    The stage of proceedings at which the Settlement was
                   achieved.



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         This case was initially filed on October 5, 2015. At the time the Parties first

reached a settlement in principle, the case had been in active litigation for nearly five

years.     Plaintiffs have reviewed the voluminous document productions of the

Defendants, have taken many fact depositions, and have retained several, well-

qualified experts to support their claims. Given all this, Plaintiffs have had sufficient

opportunity to evaluate the likelihood of whether their claims will succeed on the

merits and the risks which the Defendants’ dispositive motions present to Plaintiffs’

claims. Plaintiffs are represented by experienced counsel who understand the time

and expense that continued litigation, trial and possible appeal would require in this

complex case.26 Given that they have had the opportunity to evaluate these issues

with experienced counsel, this factor weighs in favor of approving the settlement.

VII. THE SETTLEMENT CLASSES SHOULD BE CONDITIONALLY

         CERTIFIED.

         The Court should conditionally certify the Settlement Class and set a schedule

for notice to the Class and for a fairness hearing for final approval. For settlement

purposes, the proposed Class meets the requirements for certification under Rule 23

of the Federal Rules of Civil Procedure.

         Where, as in this case, a class action is settled prior to certification, the

appropriate procedure is for the Court to conditionally certify a “temporary



26       See Docs. 202-45, 202-46.

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settlement class” for the purpose of providing notice to putative members of a

proposed class of the terms of the anticipated settlement and of their opportunity to

object. See In re Beef Industry Antitrust Litig., 607 F.2d 167, 173-78 (5th Cir. 1979),

cert. denied, 452 U.S. 905 (1981). The U.S. Supreme Court has emphasized that the

district court may not disregard the requirements of Rule 23(a) and (b) in certifying

a settlement class. Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 620-622 (1997).

      A.     Definition of the Settlement Class.

      a.     The definition of the Settlement Class as proposed by the parties is a

slight modification of the definitions in Plaintiffs’ Consolidated Individual and Class

Action Complaint.27 Plaintiffs shall move the Court to certify, and Defendants shall

not oppose certification of, the following “Settlement Class” consisting of the

following two subclasses for purposes of this Settlement only:

      (1) “Ratepayer Subclass”: Every Person who (a) was a residential-coded
      customer of the Authority or of the Town Creek Water System, the West
      Lawrence Water Cooperative (Route 20 residential customers only), the
      V.A.W. Water System (residential customers on Routes 08 through 19 only),
      or the Trinity Water Works at any time between October 5, 2013, and
      September 29, 2016, and (b) made any payment for water originating with the
      Authority—whether such water was provided directly by the Authority or
      through one of the Authority’s wholesale customers, namely, the Town Creek
      Water System, the West Lawrence Water Cooperative (Route 20 residential
      customers only), the V.A.W. Water System (residential customers on Routes
      08 through 19 only), or the Trinity Water Work—on or between (i) November
      1, 2013 and October 31, 2016, in the cases of the residential-coded customers
      of the Authority, the Town Creek Water System, and the West Lawrence
      Water Cooperative (Route 20 only), or (ii) November 1, 2013, and June 30,


27    See Doc. 175 at ¶ 46.

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      2016, in the cases of residential-coded customers of the V.A.W. Water System
      (Routes 08 through 19 only) and the Trinity Water Works; and
      (2) “Resident Subclass”: Every Person who currently resides in Alabama,
      Georgia, or Tennessee, and for at least six months between (a) October 5,
      2013 and September 29, 2016, in the cases of the residential-coded customers
      of the Authority, the Town Creek Water System, and the West Lawrence
      Water Cooperative (Route 20 only), or (b) October 5, 2013, and May 31, 2016,
      in the cases of residential-coded customers of the V.A.W. Water System
      (Routes 08 through 19 only) and the Trinity Water Works, owned or resided
      in a residential housing unit that received water originating with the Authority,
      whether such water was provided directly by the Authority or through one of
      the Authority’s wholesale customers, namely, the Town Creek Water System,
      the West Lawrence Water Cooperative (Route 20 residential customers only),
      the V.A.W. Water System (residential customers on Routes 08 through 19
      only), or the Trinity Water Works.


            Persons defined by (1) above are “Ratepayer Subclass Members,” and
      Persons defined by (2) above are “Resident Subclass Members.” Persons who
      are Ratepayer Subclass Members are excluded as Resident Subclass
      Members, except that when two persons are named as the ratepayer for the
      same account, one of those two persons (but not both) is eligible to be a
      Resident Subclass Member, provided he or she satisfies the Resident Subclass
      Member definition. Members of the Resident Subclass shall not be paid for
      more than one claim in the Settlement.


            Excluded from the Settlement Class are employees of Defendants and
      any entities in which Defendants have a controlling interest; any of the legal
      representatives, heirs, successors, or assigns of Defendants; the Judge to
      whom this case is assigned and any member of the Judge’s immediate family
      and any other judicial officer assigned to this case; all persons or entities that
      properly execute and timely file a request for exclusion from the Settlement
      Class; and any attorneys representing the Plaintiffs or Members of the
      proposed Settlement Class.

      The different dates in the foregoing definitions of the Subclasses give effect

to the Class Period and to the evidence marshalled by the Plaintiffs. The Class


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Period is October 5, 2013, two years before the suit was filed, to September 29,

2016, the date on which GAC became operational. However, payments for water

received by Ratepayer Subclass Members in the Class Period (which are basis for

the Ratepayer Subclass’s main claim) started in November, 2013 and ended in

October, 2016, respectively. So, in the cases of WMEL, Town Creek Water System,

and the West Lawrence Water Cooperative, water payments made between

November 1, 2013 and October 31, 2016, are payments for water received in the

Class Period; and in the cases of V.A.W. Water System (Routes 08 through 19 only)

and Trinity Water Works, water payments made between November 1, 2013 and

June 30, 2016, are payments for water received in the Class Period. The latter date

(6/30/2016) is employed with respect to V.A.W. and Trinity given the fact that

V.A.W. and Trinity quit distributing WMEL water after May, 2016. See Exhibits 8-

9.28 Thus, the June 30, 2016 end date for payments to those two utilities is due for

water received in May, 2016. Eligibility for membership in the Resident Subclass,

on the other hand, is limited (1) in the first instance by the start and end of the Class

Period, namely October 5, 2013 to September 29, 2016, in the cases of WMEL,

Town Creek, and West Lawrence Water Cooperative, and (2) in the second instance

by the start of the Class Period and May 31, 2016, which is the last month V.A.W.



28    Evidence for the class period and class membership of the other three utilities
-- WMEL, Town Creek Water System, the West Lawrence Water Cooperative
(Route 20 residential customers only) -- is in Doc. 202-36 and Exhibits 10-11.

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and Trinity distributed WMEL water in the Class Period. So, for households served

by those two utilities, eligibility for Resident Class membership ends May 31, 2016

(versus September 29, 2016 for the other utilities).

      The foregoing dates and explanation make it clear that, for the purposes of

this Settlement, based on all the evidence obtained and reviewed by the Parties

leading to the Settlement, the Class includes those who, during the Class Period,

received contaminated water provided by WMEL (and paid for it) or who owned or

resided at a household that received contaminated water provided by WMEL. These

Settlement Classes are well-defined “such that [] membership is capable of

determination.” See Cherry v. Dometic Corp., 986 F.3d 1296, 1304 (11th Cir. 2021)

("[W]e limit ascertainability to its traditional scope: a proposed class is ascertainable

if it is adequately defined such that its membership is capable of determination.").

      B.     Rule 23(a) Requirements are Satisfied.

      Under Rule 23(a) of the Federal Rules of Civil Procedure, a class may be

certified if “(1) the class is so numerous that joinder of all members would be

impracticable; (2) there are questions of fact and law common to the class; (3) the

claims or defenses of the representatives are typical of the claims and defenses of

the unnamed members; and (4) the named representatives will be able to represent

the interests of the class adequately and fairly.” Valley Drug. Co. v. Geneva Pharms,

Inc., 350 F.3d 1181, 1187-88 (11th Cir. 2003).           These four prerequisites are

generally known as “numerosity, commonality, typicality, and adequacy of


                                           25
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representation.” Id. at 1188. While the prerequisites are often discussed in isolation,

the inquiries necessary to determine whether they are met tend to overlap. See

Amchem Prods., 521 U.S. at 626 n. 20 (“The adequacy-of-representation

requirement tends to merge with the commonality and typicality criteria of Rule

23(a), which serve as guideposts for determining whether maintenance of a class

action is economical and whether the named plaintiff’s claim and the class claims

are so interrelated that the interests of the class members will be fairly and

adequately protected in their absence.”).

      Each of the Rule 23(a) requirements is satisfied for purposes of the proposed

Settlement. The numerosity element requires that the members of a class must be

“so numerous that the joinder of all members is impracticable.” Fed. R. Civ. P.

23(a)(1). Here, numerosity is proven. There are 17,112 residential water customer

accounts in the Ratepayer Subclass. See Exhibit 3. Each of those accounts, on

average, provided water to 1.55 to 1.59 household residents in addition to the

ratepayer.                                                                         See

https://www.census.gov/quickfacts/fact/table/lawrencecountyalabama,morgancoun

tyalabama/PST045219 (“Persons per household, 2015-2019”) (accessed July 28,

2021). These facts more than suffice for the numerosity requirement of Rule 23(a).

See Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986) (noting

that generally “more than forty [class members is] adequate” to satisfy the

numerosity requirement (internal quotation omitted)).


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      “Commonality requires that there be at least one issue whose resolution will

affect all or a significant number of the putative class members.” Williams v.

Mohawk Indus., 568 F.3d 1350, 1355 (11th Cir. 2009) (internal quotation omitted).

There are several common issues here, including but not limited to (a) the factual

history of the use, development, and discharge of PFOA, PFOS, and related

chemicals which were manufactured or utilized by the Defendants at their Decatur,

Alabama facilities; (b) when the Defendants knew of the harmful effects of PFOA,

PFOS, and related chemicals; (c) whether the Defendants failed to disclose the

harmful effects of PFOA, PFOS, and related chemicals discharged by the

Defendants from their Decatur, Alabama facilities; and (d) the extent of the

contamination of the Defendants’ facilities in Decatur, Alabama, and the migration

of that contamination into the Tennessee River. These common questions of fact

and law are sufficient to meet the “low hurdle of Rule 23(a)(2).” Williams, 568 F.3d

at 1356.

      Typicality is satisfied if “the claims or defenses of the class and the class

representatives arise from the same event or pattern or practice and are based on the

same legal theory.” Id. at 1357 (internal quotation omitted). “A class representative

must possess the same interest and suffer the same injury as the class members in

order to be typical under Rule 23(a)(3).” Id. (internal quotation omitted). Here, the

Class Representatives’ claims and the claims of the members of the Class all arise

from receiving and being exposed to contaminated water from a common source,


                                         27
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and all of the claims are based on the same legal theories.

      “The adequacy-of-representation requirement encompasses two separate

inquiries: (1) whether any substantial conflicts of interest exist between the

representative and the class; and (2) whether the representative will adequately

prosecute the action.” Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1323 (11th Cir.

2008) (internal quotation omitted). For settlement purposes, there are no conflicts

of interest between the Class Representatives and members of the Class, and the

Class Representatives have continued to vigorously prosecute this action.29

Moreover, Plaintiffs’ attorneys have demonstrated extensive experience as litigators

in federal court class action litigation.

      C.     Rule 23(b)(3) Requirements have been Satisfied.

      The proposed class must also meet the requirements of at least one of the three

class types found in Rule 23(b). Here, Plaintiffs move for certification under Rule

23(b)(3). It is proper to certify class actions pursuant to Rule 23(b)(3) where “the

court finds that the questions of law or fact common to class members predominate

over any questions affecting only individual members, and that a class action is

superior to other available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3). In the instant case, both the predominance

and superiority prongs are satisfied for purposes of the proposed settlement, and the


29
 Tommy Lindsey and Larry Watkins are representatives of the Ratepayer Subclass,
while Venetia Watkins and Lanette Lindsey represent the Resident Subclass.

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Class should be certified under Rule 23(b)(3).

             1.     The Predominance Prong is Satisfied.

      The common source of the household water transmitting Defendants’

contamination to the named Plaintiffs and each Class Member during the Class

Period demonstrates the predominance of common issues in the settlement context.

WMEL served as the source of household water to not only WMEL customers but

also customers of the adjacent utilities.30 There is a single intake from the Tennessee

River at a single location for the entire WMEL distribution system.31 That intake

took in the contaminated water and distributed it to all customers and properties.32

Water taken in from the river was tested for PFAS and found to contain PFOA, PFOS

and other PFAS.33 Before WMEL installed a GAC filtration system in September,

2016, the PFAS-containing water from the Tennessee River was delivered to

customers of WMEL and adjacent utilities.34 Thus the contamination and the

mechanism of distribution to each Class member during the Class Period that form

the fundamental basis of their claims are common.

      One of Plaintiffs’ claims is negligence. The elements of negligence are the

existence of a duty, the breach of that duty, and damage as a proximate cause thereof.


30    See Declaration of Don Sims, Doc. 74-4 at ¶ 3; Pate Affidavit at ¶ 4 (Doc.
202-36).
31
      See Pate Affidavit at ¶ 4 (Doc. 202-36).
32    See id. at ¶¶ 4, 5.
33    See id. at ¶ 5.
34    See id. at ¶¶ 7, 11.

                                          29
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Albert v. Hsu, 602 So. 2d 895, 897 (Ala. 1992). Here, Plaintiffs maintain that those

elements present common questions. Plaintiffs seek to prove that Defendants had a

duty not to pollute that is common to all members of the Class; it does not change

by property or person. Moreover, Plaintiffs would rely on common evidence to

show that Defendants’ release of PFAS is a breach of that duty. Plaintiffs would

invoke the same standard of care for Defendants as to any Class Member who

receives or received water from WMEL or adjacent utilities.

      Plaintiffs’ public nuisance claim is grounded upon the discharge of

contaminants into a public body of water. W. Morgan-East Lawrence Water & Sewer

Auth. v. 3M Co., 208 F. Supp. 3d 1227, 1234 (N.D. Ala. 2016). An individual may

have a cause of action under a public-nuisance theory if that individual suffered

a “special damage” that is different in “kind and degree from [the damage] suffered

by the public in general.” Id. at 1234; Ala. Code 1975 § 6-5-123. Because the

plaintiffs allege that the contamination here is the same for every property in the

Class, caused by the delivery of contamination from a public water body, Plaintiffs

would seek to prove that Class Members have suffered special damages as a question

common to all Class Members, the answer to which depends on common evidence.

      To state a claim for battery in Alabama, a plaintiff must establish: “(1) that

the defendant touched the plaintiff; (2) that the defendant intended to touch the

plaintiff; and (3) that the touching was conducted in a harmful or offensive manner.

W. Morgan-East Lawrence Water & Sewer Auth. V. 3M Co., 208 F. Supp. 3d 1227,


                                        30
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1236 & n.8 (N.D. Ala. 2016) (citing Ex parte Atmore Community Hosp., 719 So. 2d

1190, 1193 (Ala. 1998)). Here, Plaintiffs stand ready to prove all of those elements

with common, classwide evidence of Defendants’ releases of PFAS into the

Tennessee River.

      Questions as to Plaintiffs’ claimed damages also are common.            Class

Members all seek the same remediation, mitigation, and compensation for damages

measured by common standards. Plaintiffs’ evidence would show that Ratepayer

Subclass Members all received the same contaminated water at common rates.

Plaintiffs also contend that Resident Subclass Members all have the same battery or

property damages from the same chemicals from the same conduct causing harm.

All Class Members seek compensation for the same wrongdoing—which does not

vary by Class Member—and emanates from the same route of exposure—

contaminated household water. The members of the Class have a common method

and objective criteria for measuring and ascertaining their damages, including but

not limited to the records of the water utilities.35

      Common issues of fact and law predominate if they “ha[ve] a direct impact

on every class member’s effort to establish liability and on every class member’s

entitlement to injunctive and monetary relief.” Klay v. Humana. Inc., 382 F.3d 1241,

1255 (11th Cir. 2004) (citing Ingram v. Coca-Cola Co., 200 F.R.D. 685, 699 (N.D.



35    See Exhibit 3 at ¶ 7.

                                            31
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Ga. 2001)). Here, Plaintiffs maintain that the elements of their claims are capable

of being proven by common evidence, satisfying the predominance requirement. Cf.

Kirkpatrick v. J.C. Bradford & Co., 827 F.2d 718, 725 (11th Cir. 1987) (granting

class certification because “each of the complaints alleges a single conspiracy and

fraudulent scheme against a large number of individuals and thus is particularly

appropriate for class action” (quotation marks and citation omitted); Kennedy v.

Tallant, 710 F.2d 711, 717 (11th Cir. 1983) (granting class certification where the

defendants “committed the same unlawful acts in the same method against an entire

class”).

             2.    Managing the Claims of Class Members as a Class Action
                   under Fed. R. Civ. P. 23 Is Superior to Other Methods of
                   Case Management.

      In light of the Parties’ Settlement, class treatment of these claims is far

superior to other methods of management of Class members’ claims. “Confronted

with a request for settlement-only class certification, a district court need not

inquire whether the case, if tried, would present intractable management problems

. . . for the proposal is that there be no trial.” Amchem Prods. v. Windsor, 521 U.S.

591, 620, 117 S. Ct. 2231, 2248 (1997) Further, because the Class and Subclasses

are well-defined with the identity of all Class and Subclass Members easily

ascertained, management of a class action of this nature will not present any

difficulties. Here, with identifiable properties and Class members, communications

with the Class members can be handled efficiently. Furthermore, refusal to certify


                                         32
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a class due to manageability is not favored. Coleman v. Cannon Oil Co., 141 F.R.D.

516 (M.D. Ala. 1992).

VIII. THE COURT SHOULD APPROVE THE PROPOSED NOTICE TO

      MEMBERS OF THE CLASS.

      “[R]ule 23(e) requires that absent class members be informed when the

lawsuit is in the process of being voluntarily dismissed or compromised.” Juris v.

Inamed Corp., 685 F.3d 1294, 1317 (11th Cir. 2012). The notice should be

“reasonably calculated, under the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.”

Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 811-12 (1985). It is well established

that a district court has great discretion in determining the kind of notice to employ

in alerting class members to a proposed settlement and settlement hearing, subject

to “the broad reasonableness standards imposed by due process.”            Fowler v.

Birmingham News Co., 608 F.2d 1055, 1059 (5th Cir. 1979); Battle v. Liberty

National Life Insurance Company, 770 F. Supp. 1499, 1521 (N.D. Ala. 1991).

      The proposed Notice is attached to this Motion as part of the Notice Plan, Ex.

4, and it contains sufficient information to satisfy the requirements of Fed. R. Civ.

P. 23(e)(1). The proposed Notice incorporates the “plain language” guidelines set

forth in Fed. R. Civ. P. 23(b)(2)(B).      The Notice contains clear and concise

information about the Settlement, including: (a) the fact of the Settlement of the

claims; (b) definitions of the Subclasses; (c) a summary of the Settlement benefits;


                                         33
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(d) a brief description of the case; (e) a statement concerning how attorneys’ fees

will be paid; (f) the options available to members of the Class, including their right

to obtain independent counsel at their expense; (g) the deadlines by which members

of the Class need to object; and (i) the date, time, and location of the fairness hearing.

      In sum, the proposed Notice offers a more-than-adequate overview of the

Settlement, provides the necessary detail, and reasonably advises the Members of

the Class where they can obtain additional information. The Notice is simple, easy

to understand, and accurately summarizes the key elements of the Settlement. The

Court should approve the Notice and direct that the Notice be distributed in

accordance with the terms of the Settlement.

IX.   ATTORNEY FEES AND EXPENSES.

      If the Court preliminarily approves the Settlement, Class Counsel will file a

petition pursuant to Rule 23(h) of the Federal Rules of Civil Procedure, seeking an

award of reasonable attorneys’ fees and expenses incurred in connection with

representation of the Class Members in the Actions. Class Counsel will seek a fee

of thirty percent of the common fund, which is $3,600,000 (three million, six

hundred thousand dollars). See e.g., Dukes v. Air Canada, 2020 U.S. Dist. LEXIS

16097, at *16-18 (M.D. Fla. Jan. 27, 2020). They will seek approximately (and no

more than) $900,000 in expenses. Class Counsel will support the petition with a

detailed explanation of the reasonableness of the fees and expenses sought in the

context of this litigation, which will be available for all members of the Class to


                                           34
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review and respond to sufficiently in advance of subsequent events, specifically

including deadlines to opt out or to object, and well ahead of the final Fairness

Hearing.

X.    SERVICE AWARDS

      Service awards in the amount of $5,000.00 (five thousand dollars) should be

paid to each Class Representative (Mr. and Mrs. Lindsey, and Mr. and Mrs. Watkins)

for ably representing the Class and bearing the burdens of full and effective

participation in the litigation. $20,000.00 (twenty thousand dollars) in total service

awards are proposed ($5,000.00 times four Class Representatives.) The Plaintiffs

propose these awards pursuant and subject to settled precedent.36 If such awards

become disallowed by binding precedent,37 this request for the Class Representatives


36     See e.g., Dorado v. Bank of Am., N.A., 2017 U.S. Dist. LEXIS 219407, at *18-
19 (S.D. Fla. Mar. 23, 2017) ("Service awards for class representatives promote the
public policy of encouraging individuals to undertake the responsibility of
representative lawsuits. 'While the Eleventh Circuit has not expressly set forth
guidelines for courts to use in determining incentive awards, there is ample
precedent for awarding incentive compensation to class representatives at the
conclusion of a successful class action.'" (citation omitted)).
37     The Eleventh Circuit recently has held “that service payments are
impermissible," Knox v. John Varvatos Enters., 2021 U.S. Dist. LEXIS 29410, at
*30 (S.D.N.Y. Feb. 17, 2021), but the Eleventh Circuit decision at issue, Johnson v.
NPAS Sols., LLC, 975 F.3d 1244 (11th Cir. 2020), is subject to a petition for en banc
review, and the mandate in it has not issued. See Exhibit 12 (Johnson docket sheet
accessed 9/14/21 and other relevant items in that appeal). Thus, the decision is not
final. See Sabal Trail Transmission, LLC v. Lasseter, 823 F. App'x 914, 918 (11th
Cir. 2020) ("Until the mandate issues, an appellate judgment is not final; the decision
reached in the opinion may be revised by the panel, or reconsidered by the en banc
court, or certiorari may be granted by the Supreme Court." (citation omitted)).
Courts have held that until Johnson is final, service awards may be considered. See

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shall be withdrawn and not be renewed. This provision is severable from the

remainder of this Motion for Preliminary Approval of the Class Settlement, and any

withdrawal of it, or other event which disallows the service awards, shall not affect

the Class Settlement or other provisions of this Motion. Specifically, this Motion

for Preliminary Approval of the Class Settlement is not contingent on approval of

service awards, and the Class Representatives' decisions to agree to the Settlement

and to seek its approval are not influenced by the possibility of receiving service

awards.

 TASK                        DATE OR DEADLINE                 DESCRIPTION
 Defendant will Send the    Within 10 days of the
 Class Data to the          Preliminary Approval
 Settlement                 Order
 Administrator
 Notice to Members of the   Beginning approximately       The proposed Notice Plan
 Classes                    30 days after the date of     and Notice are attached to
                            entry of the Preliminary      this Motion and
                            Approval Order and            referenced in the
                            completed, including          proposed Preliminary
                            supplemental notices and      Approval Order. The
                            skip-tracing, no later than   long-form notice,
                            60 days after the             postcard notice, and
                            Preliminary Approval          publication notice to be
                            Order.                        utilized under the notice
                                                          plan are Exhibits 5-7 of
                                                          this Motion.


 Filing of Class Counsel’s 14 days after entry of the The Parties have agreed

Fruitstone v. Spartan Race Inc., 2021 U.S. Dist. LEXIS 19385, at *19-20 (S.D. Fla.
Feb. 2, 2021); see also Harvey v. Hammel & Kaplan Co., LLC, 2020 U.S. Dist.
LEXIS 229017, at *9 (M.D. Fla. Dec. 7, 2020); see also Marcrum v. Hobby Lobby
Stores, 2021 U.S. Dist. LEXIS 157855, at *12, 23 & n.2 (N.D. Ala. Aug. 20, 2021).

                                         36
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Petition for Attorneys’ Preliminary        Approval that Class Counsel shall
Fees and Expenses.      Order.                      seek any award of
                                                    attorneys’ fees, costs or
                                                    expenses       from     the
                                                    Settlement Amount. The
                                                    Court will decide on the
                                                    payment of fees and
                                                    expenses based on Class
                                                    Counsel’s Petition for
                                                    Attorneys’ Fees and
                                                    Expenses. The Notice
                                                    Plan and the filing
                                                    deadline for the motion
                                                    for fees and expenses
                                                    ensure      that      Class
                                                    members will have full
                                                    notice of, and a full
                                                    opportunity to assess, the
                                                    motion before deadlines
                                                    to opt out or object.

____________________     _____________________         _____________________
Filing of a motion for   Due 60 days after the         The motion for final
final approval of the    Preliminary Approval          approval will set forth the
settlement.              Order. This deadline          reasons for final approval
                         should be set in the          of the Settlement. Under
                         Preliminary Approval          the Notice Plan, it will be
                         Order.                        available     for     class
                                                       members to assess prior to
                                                       deadlines to opt-out and to
                                                       object.


Opt-Out Deadline         This deadline should be       Procedures applicable to
                         set in the Preliminary        opt-outs are set out in the
                         Approval Order and such       proposed Preliminary
                         opt-outs should be            Approval Order. The
                         postmarked or delivered       Notice Plan includes
                         no later than 90 days after   them as well.
                         the Preliminary Approval
                         Order.

                                      37
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 Objection Deadline         This deadline should be       Procedures applicable to
                            set in the Preliminary        the filing of objections
                            Approval Order and such       are set out in the
                            objections should be          proposed Preliminary
                            postmarked or delivered       Approval Order. The
                            no later than 90 days after   Notice Plan includes
                            the Preliminary Approval      them as well.
                            Order (same as the opt-
                            out deadline).

 Administrator’s    report 30 days after opt-out and
 on opt outs               objection deadline.

 Filing of a supplement   21 days before the         The supplement will
 of the motion for final  Fairness Hearing to be set respond, inter alia, to any
 approval of the          by the Court.              timely-received
 settlement.                                         objections to the
                                                     Settlement.
 Fairness Hearing.        Available dates on the     The Parties request that
                          Court calendar beginning the Court designate this
                          no earlier than 65 days    date as part of its
                          after deadlines to opt out Preliminary Approval
                          or to object               Order, because it is
                                                     necessary for notice to the
                                                     Classes.
 Resident Subclass claims 30 days after Fairness     Procedures and deadline
                          Hearing (postmarked)       for Resident Subclass
                                                     claims will be set out in
                                                     the Notice


XI.   HEARING ON THIS MOTION.

      The Plaintiffs ask for a hearing on this motion. Seven days prior to the

hearing, or earlier, they will submit a proposed order for preliminary approval of the

Settlement.

                                  CONCLUSION

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      Plaintiffs respectfully request that the Court preliminarily approve the

Settlement and find, based on the Court’s initial review, that the proposed Settlement

is fair and reasonable and worthy of submission to the Class members. Plaintiffs

also request the Court to conditionally certify the proposed class for purposes of

notice and the fairness hearing. Plaintiffs also ask the Court to find that the proposed

Class Notice satisfies due process and Rule 23 of the Federal Rules of Civil

Procedure and to direct that Class Counsel mail the Notice to members of the

Classes. Finally, Plaintiffs ask the Court to set dates for the final fairness hearing

and for preceding objection, opt-out, and other deadlines.

      Respectfully submitted this 26th day of October, 2021:

 /s/ Timothy C. Davis
 Timothy C. Davis (ASB-6384-D63T)                Kevin S. Hannon, pro hac vice
 W. Lewis Garrison, Jr. (ASB-3791-N74W)          THE HANNON LAW FIRM, LLC
 Christopher B. Hood (ASB-2280-S35H)             1641 Downing Street
 Mark R. Ekonen (ASB-0204-R79E)                  Denver, CO 80218
 HENINGER GARRISON DAVIS, LLC                    PH: 303-861-8800
 2224 First Avenue North                         khannon@hannonlaw.com
 Birmingham, AL 35203
 PH: 205-326-3336
 tim@hgdlawfirm.com
 lewis@hgdlawfirm.com
 chood@hgdlawfirm.com
 mark@hgdlawfirm.com

 Counsel for Plaintiffs and Proposed Class


                           CERTIFICATE OF SERVICE

      I hereby certify that on the 26th day of October, 2021, a copy of the foregoing
was filed electronically with the Clerk of Court using the CM/ECF system. Notice


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of this filing will be sent to all known counsel of record by operation of the court’s
electronic system.

                                       /s/ Timothy C. Davis
                                       Timothy C. Davis




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